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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION


United States,

                 Plaintiff,

v.                                                           Case No. 11-cr-20752


D-1, Orlando Gordon, et al.,                                 Sean F. Cox
                                                             United States District Court Judge


            Defendants.
___________________________________/

                               ORDER
           DENYING DEFENDANT ORLANDO GORDON’S MOTIONS FOR
                 RECONSIDERATION [DOCKET NOS. 285 & 286]

       On February 1, 2013, Defendant Orlando Gordon (“Gordon”) filed his Motions for

Reconsideration [Docket Nos. 285 & 286], which address various motions filed by Gordon, that this

Court previously denied in text only orders, that seek to join Defendant Vince Shivers’ (“Shivers”)

briefs, arising out of Shivers’ Motion to Compel Disclosure of GPS Tracking Documents and

Reports [Docket No. 153] (“Shivers’ motion to compel”).

       The Eastern District of Michigan Local Rule 7.1(h) provides as follows:

       (h) Motions for Rehearing or Reconsideration . . . .

                 (3) Grounds. Generally, and without restricting the court’s discretion, the
                 court will not grant motions for rehearing or reconsideration that merely
                 present the same issues ruled upon by the court, either expressly or by
                 reasonable implication. The movant must not only demonstrate a palpable
                 defect by which the court and the parties and other persons entitled to be
                 heard on the motion have been misled but also show that correcting the
                 defect will result in a different disposition of the case.

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Eastern District of Michigan, Local Court Rule 7.1(h)(3).

       In his Motions for Reconsideration, Gordon fails to demonstrate a palpable defect pursuant

to Local Rule 7.1(h)(3). He merely reasserts the arguments that he made in his motions. This Court,

once again, directs Gordon to the “Order Following the November 5, 2012, Status Conference.”

(Docket No. 152.)

       It is unclear why Gordon believes he will not be permitted to join in any argument discussed

in Shivers’ reply briefs, responses and supplemental briefs relating to Shivers’ motion to compel

because Gordon has already filed a joinder [Docket No. 180], to Shivers’ motion to compel. Gordon

seems to understand this because in his motions that he is asking this Court to reconsider, he asserts,

on several occasions, that he is only filing those motions as a courtesy.

       Furthermore, this Court will continue to permit Gordon to participate in the scheduled

motion hearing, addressing Shivers’ motion to compel. This Court accepted his joinder to Shivers’

motion to compel, which made a similar request to participate in the hearings. (See Docket No. 180,

¶ 4.) Thus far, all the defendants in this action, including Gordon, have been offered the

opportunity, by this Court, to participate in the proceedings involving the motions that they have

joined and/or concurred. It is unclear why Gordon believe he will not be afforded the same

opportunity.

       The motions that Gordon would like this Court to reconsider are unnecessary, duplicative,

and moot. Gordon does not even add any additional argument in those motions.

       IT IS ORDERED that Gordon’s Motions for Reconsideration [Docket Nos. 285 & 286]

are DENIED.

       IT IS SO ORDERED.


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                                                S/Sean F. Cox
                                                Sean F. Cox
                                                United States District Judge
Dated: February 7, 2013

I hereby certify that a copy of the foregoing document was served upon counsel of record on
February 7, 2013, by electronic and/or ordinary mail.

                           S/Jennifer McCoy
                           Case Manager




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